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KATHLEEN WRIGHT-GOTTSHALL,      IN THE UNITED STATES DISTRICT
MELANI BORODZIUK, JILL          COURT FOR THE DISTRICT OF NEW
MATTHEWS, JILL SKINNER, SANDRA  JERSEY
GIVAS, DONNA ANTONIELLO, JENELL
DECOTIIS, JENNIFER DOUGHERTY,
MELISSA FARRELL, ALYSON STOUT,           CIVIL ACTION
HEATHER HICKS, CHRISHA KIRK,
DAVID TARABOCCHIA, DEBORAH          VERIFIED COMPLAINT FOR
ALDIERO, GINA ZIMECKI, KERI       DELCARATORY AND INJUNCTIVE
WILKES, and MICHELE PELLICCIO,               RELIEF
NATALIE GRICKO, PATRICIA
KISSAM, ROSEANNE HAZLET,
VINCENIA ANNUZZI,JASON MARASCO,
JENNIFER MESS, and KIM
KOPPENAAL

Plaintiffs,

vs.

THE STATE OF NEW JERSEY,
GOVERNOR PHILIP MURPHY (in his
official capacity), THE NEW
JERSEY SUPREME COURT, CHIEF
JUSTICE STUART RABNER (in his
official capacity), GLENN A.
GRANT (in his official
capacity) and THE NEW JERSEY
OFFICE OF LEGISLATIVE SERVICES

                          Defendants.


      VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs    Alyson   Stout,     Heather   Hicks,   Kathleen    Wright-

Gottshall, Kim Koppenaal, Melani Borodziuk, Chrisa Kirk, David

Tarabocchia,    Deborah    Aldiero,     Donna   Antoniello,   Gina    Zimecki,
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Jason Marasco, Jenell DeCotiis, Jennifer Dougherty, Jill Matthews,

Jill Skinner, Keri Wilkes, Melissa Farrell, Michele Pelliccio,

Natalie Gricko, Patricia Kissam, Roseanne Hazlet, Sandra Givas,

and Vincenia Annuzzi (collectively “Plaintiffs”) by and through

their counsel, complain against Defendants The State of New Jersey

(“New Jersey”), Governor Philip Murphy (“Governor Murphy”), Chief

Justice Stuart Rabner (“Chief Justice Rabner”), Glenn A Grant (“Mr.

Grant”) and the Office of Legislative Services (“OLS”) as follows:

                                 INTRODUCTION

     1. This is a civil action for declaratory and injunctive

       relief arising under the Fourteenth Amendment to the United

       States Constitution.

     2. It concerns the constitutionality of mandates put in place

       by all three branches of government of the state of New

       Jersey. This includes an executive order promulgated by

       Governor Philip Murphy titled “Instituting Vaccination or

       Testing Requirement for All Preschool to Grade 12 Personnel

       and for All State Workers” (EO 253), a judiciary policy

       promulgated by New Jersey Supreme Court’s Chief Justice

       Stuart Rabner and the Administrator of Courts Glenn A.

       Grant, which applies to all public employees who work for

       the judiciary (“the Judiciary Mandate”), and an OLS mandate

       (collectively the three mandates are referred to herein as

       “The Testing Mandates”).


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3. All The Testing Mandates require that employees who have

   not    received      one     of       the   Covid-19       pharmaceuticals

   manufactured by Johnson and Johnson subsidiary Jannsen

   (“J&J”),     Pfizer,       Inc.       (“Pfizer”)     or    Moderna,      Inc.

   (“Moderna”)        (collectively        “the     Covid-19     injections”)

   submit to ongoing medical testing and medical surveillance.

4. The   Mandates      violate       the   liberty     and    privacy      rights

   protected     by     the    Fourteenth         Amendment    to    the     U.S.

   Constitution,       including         the   right   to     refuse    medical

   procedures and the right to not be medically surveilled by

   government actors. It also violates the Equal Protection

   clause of the 14th Amendment, the 4th Amendment prohibition

   on unreasonable search and seizure, and the procedural due

   process clause.

                          JURISDICTION AND VENUE

5. This action arises under the Fourteenth Amendment to the

   U.S. Constitution.

6. This Court has jurisdiction over all claims pursuant to

   the Declaratory Judgment Act as codified at 28 U.S.C.

   Sections 2201 and 2202.

7. Venue is proper under 28 U.S.C. Section 1391(b) because

   Defendants are located in this District and because a

   substantial    part    of     the     events    giving     rise   the   claim

   occurred in this District.


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                                   PARTIES

  8. Plaintiffs are all government employees or contractors

     subject to EO 253 or The Judiciary Mandate.

  9. Defendant State of New Jersey is the state government of

     New Jersey.

  10.     Defendant Governor Philip Murphy is the Governor of New

     Jersey and the person who signed Executive Order 253.

  11.     Defendant   Chief   Justice   Stuart   Rabner   is   the   Chief

     Justice of the New Jersey Supreme Court and is responsible

     for The Judiciary Mandate.

  12.     Defendant Glenn A. Grant is the administrator and is

     also responsible for The Judiciary Mandate.

  13.     Defendant OLS is of the legislative branch of government

     and is forcing OLS employees who have not taken a Covid-19

     injection or who decline to disclose to the government

     whether they have taken an injection to submit to weekly

     medical testing.

                              FACTUAL BACKGROUND

1. Executive Order 253: The State Testing Mandate

  14.     On August 23, 2021 Governor Murphy signed EO 253. Exhibit

     1.

  15.     Broadly, EO 253 requires all people who work or contract

     in any public or private K-12 school in New Jersey to

     either prove that they have taken one of the Covid-19


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   injections or submit to frequent medical testing.

16.   EO 253 requires all “covered settings” to maintain a

   policy that requires all “covered workers” to either

   provide proof of being “fully vaccinated” or submit to

   covid-19 testing at minimum one to two times weekly

   “until they are fully vaccinated.” Ex A at ¶¶1, 5.

17.   EO 253 is clear that weekly or twice weekly testing is

   a floor, not a ceiling, and that local districts are free

   to force employees to submit to more frequent testing: “a

   covered setting may also maintain a policy that requires

   more frequent testing of covered workers.” Id. at ¶7.

18.   “Covered workers” is defined as all full and part time

   employees, substitute teachers, contractors, providers,

   and any other person whose job requires them to make

   regular visit to the covered settings, including

   volunteers. Id. at ¶5.

19.   “Covered settings” is defined as: “public, private,

   and parochial preschool programs,and elementary and

   secondary schools, including charter and renaissance

   schools.” Id. at ¶1.

20.   EO 253 does not include state workers in the definition

   of “covered workers,” or state offices in the definition

   of “covered settings,” but the mandate is being applied to

   state workers anyway.


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21.   EO 253 does not include legislative branch employees in

   the definition of “covered workers,” but the mandate is

   being applied to them anyway as well.

22.   Covered settings are required to collect employee

   medical data and to submit that data to the local health

   departments. Id. at ¶4.

23.   Under EO 253, people who refuse to disclose their

   medical status to the government are considered

   “unvaccinated” and are subject to the coerced medical

   testing by the government. Id. at ¶6.

24.   The State Director of Emergency Management, who is the

   Superintendent of Police, is granted unfettered discretion

   to expand EO 253’s scope without limitation:

      The State Director of Emergency Management,
      who is the Superintendent of State Police,
      shall have the discretion to make additions,
      amendments, clarifications, and exclusions
      to the terms of this Order.

Id. at 10.

25.   The Department Of Health commissioner is authorized to

   issue a “directive supplementing the requirements outlined

   in this Order, which may include, but not be limited to,

   any requirements for reporting vaccination and testing data

   to the DOH” without having to comply with the requirements

   of the Administrative Procedures Act. Id. at ¶8.




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  26.   Every government entity and actor in New Jersey is

     required to enforce Order 253.        The EO states:

        [I]t shall be the duty of every person or
        entity in this state or doing business in this
        state and of the members of the governing body
        and every official, employee, or agent of
        every political subdivision in this state and
        of each member of all other governmental
        bodies, agencies, and authorities in this
        state of any nature whatsoever to cooperate
        fully in all matters concerning this Order,
        and to cooperate fully with any administrative
        orders issued pursuant to this order.

  Id. at 11.

  27.   Criminal prosecution and penalties are authorized

     against any government entity that takes any action in

     conflict with EO 253.       The Order provides:

        [N]o municipality, county, or any other agency
        or political subdivision of this state shall
        enact or enforce any order, rule, regulation,
        ordinance, or resolution which will or might
        in any way conflict with any of the provisions
        of this Order, or which will or might in any
        way interfere with or impede its achievement.

  Id. at 12.

  28.   Violations of EO 253 may result in up to 6 months

     imprisonment and a fine of up to $1,000. Id. at 13.

  29.   EO 253 is remain in effect until revoked by the

     governor. Id. at 14.

2. The Judiciary Testing Mandate

  30.   On August 6, 2021 the New Jersey Judiciary announced

     that all state court judges and staff would be required to


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   either provide proof that they have taken one of the Covid-

   19 injections or submit to weekly medical testing to prove

   they are not infected with covid. Exhibit 2.

31.   The   memorandum    states     that     “the   Delta     variant    is

   spreading    across   New   Jersey   and    the     nation”   and     that

   “Covid-19 trends are worsening.”           At the time the memo was

   written,     the   Judiciary      stated     that     the     “rate     of

   transmission is substantial or high in nearly all areas of

   our state.” Id.

32.   However, at the time the memo was written and the weeks

   preceding it, transmission rates were actually moderate or

   low throughout the state. See Exhibits 3, 4, 5, 6.

33.   The August 6, 2021 memo acknowledges that breakthrough

   infections occur. Ex. 2.

34.   The memo states that according to data since late July

   .13% of the people who test positive for the virus were

   full vaccinated “and only half of those showed symptoms.”

   Id.   The memo states that “in recent months, only .004% of

   fully vaccinated individuals in New Jersey have acquired a

   case of Covid-19 that required hospitalization, and just

   .001% of the fully vaccinated have died due to Covid-19

   related complications.”        Id.

35.   However, the memo does not provide any numbers for people

   who have chosen not to take the covid-19 injections or


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   people who have acquired natural immunity through recovery,

   so    there   is   no   baseline     for     comparison   in   these

   populations.

36.     On August 11, 2021 Chief Justice Stuart Rabner sent a

   broadcast     message   to   judiciary     employees   acknowledging

   that “the choice to get vaccinated is personal and private,

   and we recognize that it may be influenced by various

   factors.”     Exhibit 7.

37.     The policy states that it “recognizes and respects the

   rights of individuals to decline vaccination on religious,

   medical, and other grounds.”

38.     The message stated: “The Judiciary is not mandating

   vaccination” but is “[i]nstead permitting employees to

   choose between vaccination or weekly testing so as to

   respect those individual choices and also to reduce to the

   extent possible risks to other employees and the public.”

   Id.

39.     Also on August 11, 2021 Defendant Glenn A. Grant issued

   a memo to “All State Court Judges and Judiciary Staff.”

   Ex. 9.

40.     Collectively the memorandum and two broadcast messages

   are referred to herein as “The Judiciary Testing Mandate.”

41.     Under the Judiciary Testing Mandate, all employees of

   the Judiciary must either take a Covid-19 injection or


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    submit to weekly testing.

 42.   The Judiciary developed an application specifically for

    this purpose (“the Judiciary Medical Surveillance App”).

 43.   Employees who are not “fully vaccinated” must comply

    with a number of conditions “unless and until they are

    fully vaccinated.”

 44.   Employees who do not take a Covid-19 injection must:

       a. Undergo weekly medical tests performed by “an approved

          testing facility;”

       b. undergo the medical testing between Saturday morning

          and Wednesday night of each week and submit those

          results no later than Friday morning at 11am; and

       c. submit their tests results to Human Resources through

          the Judiciary Medical Surveillance App.

 45.   The    Judiciary      Testing       Mandate    states     that     its

    “preference is for testing to be conducted outside of

    working hours.”       Under an updated policy, employees may

    undergo    testing    during        working   hours,   but   they    must

    specifically request time for “covid testing” from their

    supervisor,    thereby    being       compelled   to   disclose     their

    medical status to their supervisor.

 46.   If a person’s test is not uploaded to the app by 11am on

    Friday morning, they are excluded from the work location

    on the next scheduled workday and may be excluded for up


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     to 24 hours after they have submitted the negative test.

     The Judiciary Testing Mandate provides an example: “if the

     employee submits negative test results on Monday morning,

     they may not be permitted to return to the work location

     until Tuesday morning.” Id.

  47.     If an employee does not submit medical test results on

     time, they must take administrative, sick, or vacation time

     unless a determination is made by unnamed persons that

     “judiciary policy and operational needs” allow the employee

     to    work        remotely.     Id.     If    the   person     is     out   of

     administrative, sick, and vacation time, “the absence will

     be considered unauthorized and unpaid.”

  48.     Even   if     the   employee      uses   available   administrative,

     sick, or vacation time, they still may be subject to

     discipline for “chronic unscheduled absences” for repeated

     failure      to    submit     medical    test   results   by    the    Friday

     deadline. Id.

  49.     Employees subject to The Judiciary Testing Mandate are

     required to schedule and pay for their own medical testing.

  50.     Additional leave time, including Covid-19 sick leave,

     cannot be used for time taken out to undergo the medical

     test or time lost because they were not able to upload the

     results in time. Id.

3. The Plaintiffs


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 51.   Plaintiffs represent every branch of government.                         They

    represent employees of public schools, private schools,

    executive     agencies,      the     judiciary,           and     independent

    consultants who are engaged by schools and the state to

    provide services.

 52.   Plaintiff Kathleen Wright-Gottshall is a kindergarten

    teacher in her 37th year as a teacher. She is eligible for

    retirement,    but   loves    her    chosen        career       and    wants   to

    continue teaching. However, Plaintiffs’ religious beliefs

    prevent her from complying with EO 253, so she may be

    forced to leave. She applied for a religious exemption,

    but it was denied as an undue hardship due to “security”

    issues. Exhibit 9, Decl. of Kathleen Wright-Gotshall at ¶

    ¶5-7. A true and accurate copy of the denial for Ms.

    Gottshall’s religious exemption request is annexed hereto

    as Exhibit 10.

 53.   Ms.   Wright-Gottshall’s         privacy    and     right          to   bodily

    autonomy are also intruded on by EO 253. She is very

    conscious of her health and has lived a vegan lifestyle

    for a decade to provide her body with long term health

    benefits. She is concerned about the safety of both the

    covid-19 injections and the nasal swabs. Id. at ¶ ¶10, 12.

 54.   Plaintiff     Melani      Borodziuk        is     an     administrative

    assistant. She is immune to covid through recovery. Exhibit


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    11, Decl. of Melani Borodziuk at ¶ ¶5-6.

 55.   Ms. Borodziuk’s school district is requiring her to be

    tested on her own time and at her own expense. She must

    take the test on a Friday, Saturday, or Sunday to submit

    her results by a Monday deadline. Id. at ¶ ¶8-9.

 56.   Ms. Borodziuk is concerned about the privacy of her

    medical information. She asked her superintendent who has

    access to her vaccination status and he said that only he

    and the nurse did. However, shortly thereafter, he emailed

    Ms. Borodziuk asking her to collect the coaching staff’s

    vaccination cards, information to which she should not have

    access, which makes her suspect about privacy controls.

    Id. at ¶11.

 57.   Ms. Borodziuk has been treated for two separate cancers,

    including one on her nose. She does not want to be exposed

    to the known carcinogen ethylene oxide, which is used to

    sterilize the testing swabs. Id. at 13.

 58.   The    Injection/Medical        Testing   ultimatum    has    taken   a

    severe emotional toll on Ms. Borodziuk.             She is a mother

    of two young children, and she is afraid that she will

    develop    cancer   from   repeated      exposure    to    the    swabs,

    especially in the same place where she already had cancer.

    She is losing sleep and her appetite from the fear and

    stress EO 253 has caused her. Id. at ¶13.


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 59.     Plaintiff Jill Matthews has been a teacher for 18 years.

    She has been working in person since October of 2020 and

    was never subjected to medical testing in that time. Ms.

    Matthews is immune to covid from recovery. She has been

    tested twice for antibodies and both times the test came

    back positive. Exhibit 12, Decl. of Jill Matthews at ¶ ¶5-

    7.

 60.     Ms. Matthews has been subjected to mandatory testing

    since September 2, 2021. She has experienced painful and

    lingering effects from the medical tests. She has never

    been the type of person who got headaches, but she has been

    developing severe headaches since beginning testing. On

    Monday September 6th, she developed a headache after testing

    that lasted for an entire week. She began to rinse her

    nostrils out after she has the medical test, and that has

    lessened the severity of the headaches, but not eliminated

    them altogether. She is believes that it is the medical

    testing causing the headaches because when she missed two

    tests in a row, her headache subsided. When she resumed

    testing again, the headache came back. She is “basically

    living life with an ongoing low grade headache” now and

    takes over the counter pain medication to dull the pain

    each day. In addition to the headache, Ms. Matthews has

    suffered two nosebleeds since beginning testing. Id. at ¶


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    ¶12-13.

 61.   Plaintiff Kim Koppenaal is a teacher at a private high

    school. She has been working in person since Fall of 2020

    with the exception of a few virtual weeks. She was not

    required to submit to medical testing through the pandemic.

    Exhibit 13, Decl. of Kim Koppenaal at ¶ ¶5-6.

 62.   Ms. Koppenaal is immune to covid through recovery. Id.

    at ¶8.

 63.   Her religious beliefs prohibit her from taking any of

    the covid-19 injections. Id. at 7.

 64.   The medical testing regime at her school requires her to

    present herself for testing every Friday. If the school is

    closed on a Friday, then she is required to take time

    during the day to undergo medical testing at her own time

    and expense that Friday, Saturday, or Sunday and submit

    the results of the medical test by Monday morning. Id. ¶

    ¶9-10.

 65.   Plaintiff Jill Skinner is a Speech Language Therapist in

    the Newark Public schools.         She is immune to covid from

    recovery and has measurable antibodies. Exhibit 14, Decl.

    of Jill Skinner at ¶ ¶5-6.

 66.   She has been working in person since April 2021 and was

    not subject to testing until September 6, 2021. Id. at ¶

    ¶7-8.


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 67.   The testing regime in Ms. Skinner’s district requires

    her to upload her medical test results by Sunday at 7pm

    and she must have been undergone the medical test no

    earlier than 7pm on Thursday. Id. at ¶9.

 68.   One Monday Ms. Skinner was sent an email telling her

    that she was not permitted to work despite a negative test

    result because her medical test had been a few hours before

    7pm on Thursday. Id. at ¶10.

 69.   Another week Ms. Skinner underwent medical testing on

    Friday and the results did not come in time. She called

    the lab to find out why the results had not come and was

    told that the test was stuck on step 1 of 5 in their

    process. She was sent home and made to take a personal day.

    She was told that she cannot use a sick day “because the

    superintendent     knows   [she]   is   not   sick   and   [is]   just

    waiting for [her] test results.” Id. at ¶ ¶13-14.

 70.   Ms. Skinner was able to obtain a free saliva test from

    the county where she lives. She now uses the half hour she

    gets for lunch on Fridays to do the saliva test. She is

    required to get on a zoom call with a stranger. While the

    stranger watches she is required to open the test and then

    drip/spit saliva into the test tube until it reaches the

    proper line. Then she closes and seals the container. She

    then rushes to a UPS so she can mail the test results in a


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    timely   manner   and   then        returns   to   school   to   continue

    working. Id. at ¶12.

 71.   On days that the schools are closed on Monday, like

    Columbus Day, Ms. Skinner is required to upload her medical

    test results by Monday at 7pm. Because the test can be no

    earlier than 72 hours before, this requires her to undergo

    the medical testing after 7pm on Friday night or over the

    weekend. Id. at ¶15.

 72.   Ms. Skinner’s medical status has been brought up and

    discussed in front of coworkers by her superiors. She had

    a meeting with the principal and other members of the Child

    Study Team. At the meeting, the principal pulled out a list

    of people who had not uploaded proof of their vaccination

    and stated in front of her colleagues that she was the only

    person in the room who had not uploaded her proof. The

    principal told Ms. Skinner the process for medical testing

    and then made Ms. Skinner repeat it back to her. The

    experience of having her private medical information and

    decisions discussed in this manner has left Ms. Skinner

    anxious at work. Id. at ¶ ¶16-17.

 73.   Plaintiff Sandra Givas is an operational assistant at

    public   high   school.   She        worked   in   person   through   the

    pandemic all last year and this year without being required

    to undergo medical tests. Decl. of Sandra Givas, Exhibit


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    15 at ¶ ¶5, 12.

 74.   Ms. Givas is extremely health conscious because since

    1987 she has suffered from a health anxiety disorder, for

    which she is treated. She attests:

       There is nothing in life that I take more
       seriously, and put more effort into, than my
       physical, mental, and emotional health. My
       life is greatly affected by my health anxiety.
       I have lived a vegan lifestyle...I exercise
       regularly and am very careful about what I put
       into my body.

 Id. at ¶ ¶7-10.

 75.   Medical testing is very hard for Ms. Givas due to her

    health anxiety. She has to prepare for medical tests weeks

    in advance and her doctors are aware of her disorder and

    know that she requires extra time to go over every number

    with her. She attests: “It’s a very intense process.” While

    waiting on the results of a medical test, she is “unable

    to focus on anything else due to the anxiety.”                    She is

    “almost    incapacitated”      until   she   receives    a       negative

    result.    The    Testing    Mandate   has   inflicted       a    serious

    emotional toll on Ms. Givas and is likely to lose her

    livelihood if it is not enjoined. Id. at ¶ ¶9-11.

 76.   Plaintiff Deborah Aldiero is a school nurse at a private

    school for autistic children. She has been working in

    person    since   September    2020,   through   the    peak      of   the

    pandemic    in    December    2020/January    2021     and       was   not


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    subjected to medical testing in that time. Exhibit 16,

    Decl. of Deborah Aldiero at ¶ ¶5-6.

 77.   Plaintiff Alyson Stout is a physical therapist and early

    intervention specialist who contracts with four school

    districts directly through her business and also contracts

    with private entities who contract with the state. She

    loves her work and has been doing it for 25 years. Exhibit

    17, Decl. of Alyson Stout at ¶ ¶5-9.

 78.   Ms. Stout is immune to covid through recovery. Id. at

    ¶11.

 79.   She was required to start testing on September 7, 2021

    and it has been a hugely intrusive and emotionally trying

    experience for her. It has disrupted her personal life in

    a significant way. She tried to fit the government mandated

    medical testing into her schedule after work, but her

    evenings are devoted to cooking dinner for her family,

    walking her dogs, exercise, and just generally living her

    normal evening life. Instead she has had to incorporate

    the medical testing into her weekend. She has found the

    best time for her to get an appointment and go is on Sundays

    after church. After she undergoes the medical test, she

    goes straight home and sets up the appointment for the

    following week because she’s found that if she waits longer

    than that, the appointments fill up before she can secure


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    one.   One    Sunday,    she   had      to    leave      her   stepdaughter’s

    birthday party early to undergo the government mandated

    medical      testing     and   was      not       able    to   find   another

    appointment. It was frustrating having to leave the family

    event and embarrassing having to explain to her family that

    she has to go get a medical test. Id. at ¶ ¶15-17, 19.

 80.    Ms. Stout worries about going away for a vacation, or

    even for a weekend, for fear of missing a medical test and

    not being able to work.           She worries she may have to find

    a   place    to   test   while        she    is   away    on   vacation.   The

    government mandated medical testing is taking an emotional

    and mental toll on Ms. Stout. She attests:

        The weekly testing requirement is taking a
        huge toll on my mental and emotional well-
        being. Rather than being able to use my non-
        working time to relax and enjoy family time,
        I find myself becoming anxious about getting
        an appointment for testing, going for the
        testing appointment, and then stressing every
        day waiting for my results to come via email,
        not because I am worried I have covid, but
        because I am worried the results will not come
        back in time for me to work.

 Id. at ¶18.

 81.    Ms. Stout also has found the actual process of testing

    invasive and upsetting. It is embarrassing having to go

    through testing in a public place and the weekly testing

    had caused her sinuses to become very irritated. Before

    being forced to submit to weekly medical testing Ms. Stout


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    rarely had allergy or sinus issues, but not she has to use

    sinus rinses and saline to calm her sinuses.           Id. at ¶ ¶21-

    22.

 82.   Adding further indignity to the government’s imposition

    on Ms. Stout, she is required to cover the cost of the

    medical tests she does not want. Id. at ¶23.

 83.   Because    Ms.   Stout   works   for   four   different   school

    districts and two state agencies it is conceivable that

    once they all announce their testing policies she will be

    forced to undergo government medical testing even more

    frequently if they require test results to be submitted on

    different days. Id. at 25.

 84.   Free testing is offered by Rite-Aid, but the free testing

    is done through a program called “Project Baseline,” which

    sends her private medical information to the government

    and other unidentified third parties. This violates her

    privacy so she will not test there. Id. at ¶24.

 85.   Ms. Stout knows that her private medical information is

    being shared and will be shared throughout government

    entities and among the people who work there. She will have

    to report her medical information to each of the four

    districts with which she contracts and she is already

    required to share her information with the private entities

    with which she contracts. She is required to email her


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    medical information to employees at the agencies. She does

    not know what they do with her medical information after

    she emails it to them. She does not like reporting her

    private medical information to strangers in this way. It

    is invasive of her privacy. Id. at 26.

 86.   Plaintiff Vincenia Annuzzi has been a French teacher for

    11 years. Her school district required her to begin medical

    testing on September 15, 2021. If she does not wish to pay

    for the testing herself, she must avail herself of the on-

    site    district     testing,     which      is   only    available     on

    Wednesdays between 7:30 am and 8am. Her position requires

    her to be in the classroom at 7:50. Exhibit 18, Decl. of

    Vincenia Annuzzi at ¶8.

 87.   Ms. Annuzzi’s privacy is invaded by the testing process.

    On the first day her district required medical testing,

    she and other staff members who are forced to undergo the

    testing were told to present themselves in the school

    conference room and were then walked out into the hallway

    to another room where the medical tests are performed.

    Everyone who is congregated there and anyone who walks by

    is essentially made aware of her medical status just by

    virtue of her having to be there. Ms. Annuzzi’s privacy is

    further    invaded    because     she   is    forced     to   sign   forms

    consenting to the disclosure of her information. Id. at


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    ¶¶9-10.

 88.    Plaintiff Roseanne Hazlett is employed by the State of

    New Jersey as a probation officer. She is subject to the

    Judiciary Testing Mandate. Under the policy she is required

    to be tested between Saturday and Wednesday and to upload

    a   negative   test   result        by   Friday    at   11am.   Under    the

    Judiciary Testing Mandate Ms. Hazlett is required to do a

    nasal swab test, spit tests are prohibited. Exhibit 19,

    Decl. of Roseanne Hazlett at ¶6.

 89.    Ms. Hazlett was originally required to be tested on her

    own time at her own expense. She is still required to be

    tested at her own expense, but the Judiciary has updated

    its policy to allow employees to take time during work to

    undergo the medical test. However, to do this she must

    disclose to her immediate supervisor that she is subject

    to the Testing Mandate and the time is coded on her time

    sheet as “covid test.” Further, she is required to submit

    proof that the time she underwent the medical test is the

    same time that she was granted time to go test, but the

    medical testing facility she uses to undergo the test does

    not time stamp, so she cannot comply with this. Id. at ¶7.

 90.    Ms. Hazlett’s vacation time was ruined by the Judiciary

    Medical    Testing    Mandate.       She    took    off   of    work    from

    September 20, 2021 to September 24, 2021 to relax at home.


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    However, to be able to return to work the following Monday,

    she was required to undergo government mandated medical

    testing on Wednesday September 22 nd, in the middle of her

    vacation. The results to her test did not come in time,

    for reasons beyond her control. She spent the last weekend

    of her vacation stressed and anxious waiting for the test

    results so she could return to work.           She did not want to

    lose another day of work and day of her vacation time

    because she was not sick. On Monday when the test results

    still had not come in, she called her job and was told that

    she would not be permitted to work that day and would have

    to take “admin” time. Usually she reserves admin time for

    days when it is snowing because she does not drive in the

    snow. When the results still had not come in by Monday

    morning, she drove 80 miles to get a rapid test so she

    could return to work on Tuesday. The rapid test showed what

    she already knew; she was not sick. Id. at ¶9.

 91.   Ms.   Hazlett   has    to   direct   a   significant   amount     of

    personal time and mental energy toward complying with the

    Judiciary    Medical     Testing    Mandate.   Two   times   CVS    has

    cancelled her test at the last moment and she has to direct

    her energy toward scrambling to find a rapid test so she

    can work. She attests: “I am so stressed all the time now

    because I know I have to have these test results back. I


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    have to plan my whole week around this.” Id. at ¶10.

 92.   In addition to intruding on her personal time and mental

    well-being, the medical testing is affecting Ms. Hazlett

    physically.      She suffers from a burning and runny nose

    after the medical tests. Id. at ¶12.

 93.   Ms. Hazlett worked through the entire pandemic in the

    field without any stop and was never required to undergo

    any medical testing even through the peaks of the pandemic.

    Id. at ¶11.

 94.   Plaintiff Patricia Kissam is a special education teacher

    at an elementary school, working with students in grades 1

    through 5. She is in her 24th year of teaching. She cannot

    take any of the covid-19 injections because it conflicts

    with her sincerely held religious beliefs. In addition,

    she is immune to covid through recovery. Exhibit 20, Decl.

    of Patricia Kissam at ¶¶5-7.

 95.   Ms. Kissam was tested for covid last December after she

    was exposed. It was a horrible experience. She experienced

    severe pain and felt like her brain was being stabbed. She

    developed a severe headache that did not go away for a

    week. Id. at ¶8.

 96.   The Testing Mandate has taken an emotional toll on Ms.

    Kissam. She attests:

       The testing mandate has been very upsetting.


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       I am healthy and do not want to undergo weekly
       testing to prove my health. I worry about this
       all the time. I am chewing my nails and
       cuticles to pieces over my anxiety. I am
       despondent that I will lose my job of 24 years
       and will not have any pension vest if I do not
       submit to weekly medical testing that I do not
       want. I am unable to sleep with anxiety and
       worry.

 Id. at ¶9.

 97.   Plaintiff    Natalie      Gricko    has    been   a    supervisor   of

    special education in the same school for 28 years. Ms.

    Gricko has dedicated herself to her job and has received

    tenure in three different positions in her district. She

    is immune to covid through recovery. Exhibit 21, Decl. of

    Natalie Gricko at ¶¶4,5,15.

 98.   Ms. Gricko has not been subjected to the government

    mandated medical testing yet, but already her privacy has

    been invaded. She was required to disclose to her school

    district    whether    she    had     taken   any    of   the   covid-19

    injections.      There was no option not to disclose. In

    addition, she knows that her private medical information

    is being shared among employees of the school because her

    boss told her “We know who’s vaccinated and who’s not.”

    Id. at ¶¶10-11.

 99.   Plaintiff Michele Pelliccio is a Paralegal with the

    State of New Jersey Department of Children and Families

    and is purportedly subject to EO 253. Exhibit 22, Decl. of


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    Michele Pelliccio at ¶¶5-6.

 100. The Testing Mandate is taking a severe toll on Ms.

    Pelliccio. She suffers from a severe case of white coat

    syndrome.     Her blood pressure goes up very high and any

    medical    intervention    or       procedure,       including   testing,

    causes her extreme anxiety. She loves her job and has

    earned outstanding evaluations. She intended to continue

    working for another ten years in her position, but she will

    not submit to the weekly testing and does not know what

    she is going to do. She sincerely does not wish for her

    career to end like this. Id. at ¶11.

 101. Plaintiff     Jenell    De    Cotiis    is     a    special    education

    teacher for kindergarten and first grade students. She has

    been a teacher for 21 years. The students in her care have

    multiple disabilities and require intensive hands on care.

    Exhibit 23, Decl. of Jenell De Cotiis at ¶¶5-6.

 102. Ms. De Cotiis loves her job and worked through the peaks

    of the pandemic       without undergoing medical testing or

    missing one day due to illness.           Id. at ¶¶5,7.

 103. Ms. De Cotiis is unable to take any of the covid-19

    injections because it would conflict with her sincerely

    held religious beliefs.         The ongoing medical testing also

    conflicts with her sincerely held religious beliefs. Id.

    at ¶¶9-10.


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 104. If Ms. De Cotiis is forced to undergo the government

    mandated medical testing, she will have to do it on her

    own time in the evening and at her own expense because the

    time for free testing offered by the school would make it

    impossible for her to meet her son when he gets off the

    bus from school. Id. at ¶¶11-12.

 105. Plaintiff David Tarabocchia is a full time bus driver

    and part time custodian. He has worked through the entire

    pandemic non-stop. He worked through both peaks of the

    pandemic in March/April 2020 and December/January 2021. He

    worked all summer long when neither he nor the children

    were wearing masks. He was not forced to undergo medical

    testing during any of this time. Exhibit 24, Decl. of David

    Tarabocchia at ¶¶5-6.

 106. Mr.    Tarabocchia    will        not   take   any   of   the   covid-19

    injections because it would conflict with his sincerely

    held religious beliefs. He feels the forced testing is a

    violation of his privacy and religious beliefs. Id. at ¶¶7-

    8.

 107. Mr. Tarabocchia has serious privacy concerns about the

    forced medical testing. He is required to download a phone

    application onto his personal phone. He is required to use

    this phone application to upload his medical test results

    to the school and he is required to hand in a physical copy


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    to his supervisor. He does not feel comfortable sharing

    his medical records with his supervisor and he is not

    comfortable using a phone application to upload his medical

    records.    Id. at ¶9.

 108. Mr. Tarabocchia is also required to pay for his own

    medical testing, which he cannot afford. Id. at ¶10.

 109. The Medical Testing Mandate is taking a toll on Mr.

    Tarabocchia    and   his    family.    He   cannot   sleep     at   night

    knowing that his job is forcing him to undergo medical

    testing that religious and physically he does not feel safe

    doing. Id. at ¶11.

 110. Plaintiff     Jason      Marasco    is    a   health   and   physical

    education teacher as well as a wrestling coach.                       Mr.

    Marasco suffers from epilepsy and takes 9 pills a day to

    control his condition. He will not take any of the covid-

    19 injections because they have not been tested on people

    with epilepsy and he fears that they will harm him. Mr.

    Marasco is immune to covid through recovery. Exhibit 25,

    Decl. of Jason Marasco at ¶¶5,7,14.

 111. Mr. Marsco’s school district has been back in person

    since September 2020. He was out on disability from October

    2020 to March 2021. All other periods he has worked full

    time in person and was not subjected to any medical testing

    in that time. Id. at ¶6.


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 112. Mr. Marasco’s school district has already required him

    to start undergoing medical testing two days a week. To

    make it to work on time, he has to leave his house 20

    minutes earlier on both testing days, which is stressful

    and essentially lengthens his working week by 40 minutes.

    Id. at ¶11.

 113. In addition to robbing him of 40 minutes normally devoted

    to family time each week, the Testing Mandate has also

    intruded on Mr. Marasco’s time with his family. On Columbus

    Day his children’s school was closed, but his was not. He

    took the day off to be with and care for his children, but

    his school district requires him to be tested on Mondays

    or be subject to discipline. Consequently, he had to go in

    the morning on his day off to undergo the government

    mandated medical testing. Id. at 12.

 114. Mr. Marasco is affected physically, emotionally, and

    mentally by the medical testing and The Testing Mandate.

    He has suffered from two nosebleeds and the process is

    painful. He has to pull away and it makes his eyes water.

    Id. at ¶13.

 115. Plaintiff Donna Antoniello is a school nurse at a public

    school.    Both   the   covid-19   injections    and   the   medical

    testing conflict with her sincerely held religious beliefs.

    She has never taken a Covid-19 test and has specifically


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    declined testing on multiple occasions. Exhibit 26, Decl.

    of Donna Antoniello at ¶ ¶5,6,10-11.

 116. Under    the    Testing   Mandate,    Ms.   Antoniello      would   be

    required to undergo the medical testing in her personal

    time on the weekends. Id. at ¶ 8.

 117. Plaintiff Chrisha Kirk has been an English language arts

    teacher in a New Jersey public school for 17 years. Ms.

    Kirk has declined to receive a Covid-19 injection due to

    her sincerely held religious beliefs, and is therefore

    mandated to undergo weekly medical testing under EO 253.

    Exhibit 27, Decl. of Chrisha Kirk at ¶ ¶5, 7.

 118. Ms.    Kirk’s    school    district     began   mandating    medical

    testing before EO 253 went into effect and had to pay $200

    out of her own pocket for those tests. Id. at ¶11.

 119. Ms. Kirk is subject to discrimination not faced by her

    peers   who   have   opted    for   the    injection.   If     she    is

    identified as a “close contact” of a person who has tested

    positive for Covid-19, she is automatically excluded from

    school for 10 days and she is required to use sick days

    during this time. Id. at ¶ ¶15-17.

 120. The Testing Mandate and its effect is taking an emotional

    and mental toll on Ms. Kirk.        She attests: “I am healthy,

    but I am being treated by the government and my employer

    like I am diseased.” Id. at ¶17.


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 121. Plaintiff Melissa Farrell has been a special education

    teacher at a New Jersey public school for 16 years. Both

    the covid-19 injections and the medical testing conflict

    with her sincerely held religious beliefs. She has never

    been undergone testing for covid infection. Exhibit 28,

    Decl. of Melissa Farrell at ¶ ¶5,6,7,9.

 122. Ms. Farrell is immune to Covid-19 due to a previous

    infection, and confirmed by a recent blood antibody test

    showing measurable antibodies. Id. at ¶8.

 123. Ms. Farrell is extremely wary of using supposedly “safe

    products” on her body, having had serious health issues in

    the past with medical devices placed inside her body that

    had been declared “safe” by the FDA. Id. at ¶18.

 124. The Testing Mandate is exactly an emotional and mental

    toll from Ms. Farrell. She is physically and mentally

    drained by the fact that she may be forced to leave her

    students, about whom she cares deeply, due to the forced

    medical testing. Id. at ¶14.

 125. Plaintiff Keri Wilkes has been a math teacher at a New

    Jersey public school for 25 years. In all that time she

    has never been disciplined, and was teacher of the year in

    2011. Both receiving a covid-19 injection and the forced

    medical testing conflict with her sincerely held religious

    beliefs. Exhibit 29, Decl. of Keri Wilkes at ¶ ¶5,7-8.


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 126. Ms. Wilkes has worked in person since September 2020,

    through the peak of the pandemic in December 2020/January

    2021 and was not subjected to any medical testing during

    that time. Id. at ¶6.

 127. Ms.    Wilkes      avoids   all   chemical    intake   as   per    her

    religious beliefs, including aspirin, Tylenol, etc. and

    does not want to be subjected to the chemicals on the

    testing swabs. She had requested a religious exemption due

    to her beliefs, but after waiting four weeks her request

    was denied. Id. at ¶ ¶8-10.

 128. Ms. Wilkes has endured so much stress from the medical

    testing mandate that she loses sleep, her hair is falling

    out, and she has developed skin rashes. She considers the

    testing requirement to be a violation of her religious

    beliefs and bodily autonomy. Due to her religious beliefs,

    and she will never be “fully vaccinated” per the Executive

    Order. Id. at ¶ ¶12-13.

 129. Plaintiff Jennifer Dougherty works in the New Jersey

    Office    of   the    State   Auditor,   part    of   the   Office   of

    Legislative Services, which is of the legislative branch

    of government. She has never taken a Covid-19 test, but

    OLS has said she is required to undergo invasive medical

    testing that uses materials she does not trust to keep her

    job. Exhibit 30, Decl. of Jennifer Dougherty at ¶ ¶5, 9.


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 130. Plaintiff Heather Hicks is an elementary teacher in a

    New Jersey public school who has been working in person

    since September 2020, including through the entire summer

    with no masks. She was not required to undergo medical

    testing during this period. Ms. Hicks is immune to covid

    through recovery. Exhibit 31, Decl. of Heather Hicks at ¶

    ¶5,6,7.

 131. Ms. Hicks has declined to receive a Covid-19 injection

    and does not want to undergo weekly medical testing. Ms.

    Hicks strongly believes that the testing violates her right

    to make medical decisions for herself, as well as her

    medical privacy. She is required to fill out a daily health

    screening form on Google, which gives her anxiety on a

    daily basis. She is considering moving out of state and

    out of the town she grew up in to avoid the testing mandate

    and take back control over her own medical decisions and

    bodily autonomy.       Since Ms. Hicks will never receive a

    Covid-19     injection,     she   will    never    become     “fully

    vaccinated” per the Executive Order, and will be subjected

    to testing indefinitely. Id. at ¶ ¶9-11.

 132. Plaintiff Gina Zimecki is a Kindergarten teacher at a

    public school. She has been a teacher for 25 years. Ms.

    Zimecki has been working in person since October 2020 and

    through the peak of the pandemic in December 2020/January


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    2021.    She was not required to undergo medical testing in

    that period. Exhibit 32, Decl. of Gina Zimecki at ¶ ¶5-6.

 133. Ms. Zimecki is very health conscious and careful about

    what substances she puts in her body. She is concerned

    about using swabs in her nose, and does not want to be

    exposed to possible carcinogens unnecessarily. She has not

    been told whether she will be required to test at work or

    on her own personal time, but either way she will suffer

    either a professional or personal imposition. She suffers

    mental stress due to the worry about when and how her

    testing will need to happen, and whether how she will pay

    for it. Id. at ¶ ¶7-9, 11.

 134. Plaintiff     Jennifer   Mess   has   been   the   activity   arts

    educator at a public middle school in Middletown, NJ for

    21 years.    She has been working in person since September

    2020, including through the pandemic peak of               December

    2020/January 2021. She was not subject to medical testing

    in that time. The covid-19 injections and the medical

    testing both violate her sincerely held religious beliefs.

    Exhibit 33, Decl. of Jennifer Mess at ¶ ¶5,6,11.


                          CONSTITUTIONAL CLAIMS

                                      I.

         THE TESTING MANDATES VIOLATES THE FOURTH AMENDMENT
           PROHIBITION ON UNREASONABLE SEARCH AND SEIZURE


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   135. Plaintiffs repeat and reallege each of the preceding

     paragraphs.

   136. The Testing Mandates are unreasonable.

   137. The Mandates violate the Fourth Amendment prohibition on

     unreasonable search and seizure and the right for the

     people to be secure in their persons and property.

                                 II.

THE TESTING MANDATES VIOLATE PLAINTIFFS’ FOURTEENTH AMENDMENT
                       RIGHT TO PRIVACY

   138. Plaintiffs repeat and reallege all of the preceding

     paragraphs as if set forth at length herein.

   139. The   Testing   Mandates        all   involve   extensive   medical

     tracking and surveillance. Persons subject to the Mandates

     are subject to invasions of their privacy in multiple and

     layered ways:

        a. They are required to undergo medical testing;

        b. They are required to report their medical test results

           to the their employer;

        c. Many are required to report their medical test results

           to multiple people at their place of employment;

        d. Many are required to upload their medical test results

           to a third-party application;

        e. Their medical test           results are reported to local

           health authorities;


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       f. Their medical test results are reported to the state;

       g. Their medical test results are put in a database by

          the state;

       h. They are required to report their test results through

          various smartphone applications.

 140. There    are   serious     privacy    issues       with   all    of    the

    policies, and little concern seems to be paid to the

    privacy of persons being subjected to the testing mandates.

 141. There is no legal or historical precedent or support for

    the government to require public employees to submit to

    ongoing invasive medical testing and continually report

    their health status to a state entity.

 142. The lack of precedent is prima facie evidence that the

    liberty    to   be   free   from   invasive       testing   and    medical

    surveillance by the state is fundamental and deeply rooted

    in the country’s history and tradition.

 143. The state’s interest in stemming the spread of Covid-19

    must be weighed against the individual right to privacy.

 144. The     individual’s      right      to    be     free    of     medical

    surveillance and a systemic regime of medical testing by

    the government entity outweighs the state’s interest.

 145. The policies are not narrowly tailored to achieve the

    government’s stated interests.

 146. The     Testing     Mandates     present        Plaintiffs      with   an


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      ultimatum to undergo either a medical procedure or ongoing

      and indefinite medical testing.

    147. Plaintiffs’ privacy rights permit them to decline both

      the medical procedures and the medical testing.

    148. The Testing Mandates are unconstitutional under the 14 th

      Amendment right to privacy.


                              III.
 THE TESTING MANDATES VIOLATE PLAINTIFF’S FOURTEENTH AMENDMENT
                         LIBERTY RIGHTS


    149. Plaintiffs repeat and reallege each of the preceding

      paragraphs as if set forth at length herein.

    150. Plaintiffs have the fundamental liberty right to be free

      from the coerced medical testing required by The Testing

      Mandates.

    151. The    Testing    Mandates     present   Plaintiffs     with     an

      ultimatum to undergo either a medical procedure or ongoing

      and indefinite medical testing.

    152. Plaintiffs’ liberty rights permit them to decline both

      the medical procedures and the medical testing.

                               IV.
THE TESTING MANDATES VIOLATE THE EQUAL PROTECTION CLAUSE OF THE
                      FOURTEENTH AMENDMENT

    153. Plaintiffs repeat and reallege each of the preceding

      paragraphs as if set forth at length herein.

    154. Plaintiffs have the fundamental right to be free from


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      the   coerced    medical    testing    required      by   The   Testing

      Mandates.

    155. Plaintiffs have the fundamental right to decline the

      Covid-19 injections.

    156. Plaintiffs are being subjected to disparate and unequal

      treatment    based    on   the    exercise   of   their   fundamental

      rights.

    157. The Testing Mandates violate the equal protection clause

      of the Constitution.

                               V.
THE TESTING MANDATES VIOLATE PLAINTIFFS’ RIGHT TO FREE EXERCISE
          OF THEIR RELIGION UNDER THE FIRST AMENDMENT


    158. Plaintiffs repeat and reallege each of the preceding

      paragraphs as if set forth at length herein.

    159. Several Plaintiffs are unable to comply with The Testing

      Mandates because both the Covid-19 injections and the

      ongoing     testing   conflict      with     their   sincerely    held

      religious beliefs.

    160. The Mandates present an undue burden on Plaintiffs’

      sincerely held religious beliefs and unconstitutionally

      interfere with the free exercise of their religion.

    161. The Testing Mandates violate the First Amendment of the

      Constitution.




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                              VI.

                 VIOLATION OF 42 U.S.C. §1983

  162. Plaintiffs repeat and reallege each of the preceding

    paragraphs as if set forth fully herein.

  163. Governor Philip Murphy, Chief Justice Stuart Rabner,

    and Glenn Grant have violated Plaintiffs’ Constitutional

    rights while acting under the color of law.



                                    VII.

VIOLATIONS OF THE NJ STATE CONSTITUTION ARTICLES 4, 5 AND 7

  1. Plaintiffs repeat and reallege each of the preceding

    paragraphs as if set forth fully herein.

  2. The Testing Mandates are an unreasonable search and

    seizure under Article 7 of the Constitution.

  3. The Testing Mandates violate Articles 4 and 5 of the

    Constitution because they deprive certain Plaintiffs of

    their right to freely practice their religion as a

    condition of holding public employment.



                            PRAYER FOR RELIEF

  Wherefore, Plaintiffs request the following relief:

  4. Declare EO 253 unconstitutional on its face and as

    applied;

  5. Declare The Judiciary Testing Mandate unconstitutional on


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         its face and as applied to each Plaintiff;

     6. Declare the OLS Testing Mandate unconstitutionally

         facially and as applied;

     7. Enjoin The State of New Jersey from enforcing EO 253;

     8. Enjoin Chief Justice Stuart Rabner and Glenn Grant from

         enforcing The Judiciary Testing Mandate;

     9. Enjoin OLS from enforcing its Testing Mandate;

     10.   Grant Plaintiffs their costs and attorneys’ fees under

         42 U.S.C. Section 1988 and any other applicable

         authority; and

     11.   Grant any and all other such relief as this Court

         deems just and equitable.



                                  Respectfully submitted,

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Dated:     October 18, 2021




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                        COMPLAINT VERIFICATION

Each of the Plaintiffs has sworn in the attached and

incorporated Declarations that all facts pertaining or relating

to them are true under penalty of perjury.



               CERTIFICATION PURSUANT TO L. CIV. R. 11.2

The matter in controversy is not the subject of any other action

pending   in    any   court,   or    of   any   pending   arbitration      or

administrative proceeding.



Dated: October 18, 2021             /s Dana Wefer, Esq.
                                    Dana Wefer, Esq.
                                    Attorney at Law
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                                    Attorney for Plaintiffs




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JS 44 (Rev. 04/21)                             CIVIL COVER
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                                                       1 Filed 10/18/21
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
        KATHLEEN WRIGHT-GOTTSHALL, MELANI                                                                      State of New Jersey, Governor Philip Murphy, Chief Justice
        BORODZIUK, JILL MATTHEWS, JILL SKINNER, et al.                                                         Stuart Rabner, Glenn A. Grant, Office of Legislative Serv.
    (b) County of Residence of First Listed Plaintiff Ocean                                                    County of Residence of First Listed Defendant Mercer
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
           Law Offices of Dana Wefer, 375 Sylvan Ave, Suite 32,
           Englewood Cliffs, NJ 07632
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                820 Copyrights                    430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                              830 Patent                        450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                     New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                      840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation            ✖   440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment           442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             U.S. Constitution
VI. CAUSE OF ACTION                          Brief description of cause:
                                             Defendants instituted unconstitutional medical testing mandate for state workers
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
10/18/21                                                                    /s Dana Wefer
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
